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                                                          FILED: December 29, 2022


                       UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT

                                 ___________________

                                      No. 22-1305
                               (1:21-cv-00107-RDA-JFA)
                                 ___________________

  KERRIN ANN BARRETT

                Plaintiff - Appellant

  v.

  PAE INCORPORATED

                Defendant - Appellee

                                 ___________________

                                   JUDGMENT
                                 ___________________

        In accordance with the decision of this court, the judgment of the district

  court is affirmed.

        This judgment shall take effect upon issuance of this court's mandate in

  accordance with Fed. R. App. P. 41.

                                         /s/ PATRICIA S. CONNOR, CLERK
